          Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 1 of 16 Page ID #:1



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 5
 6
                              UNITED STATES DISTRICT COURT
 7                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

 8
     JAMES ADIE, Individually and on Behalf of
 9 All Others Similarly Situated,                     Civil Action No. 18-cv-2537
10
                             Plaintiff,               CLASS ACTION COMPLAINT
11
                    v.                                DEMAND FOR JURY TRIAL
12
13 BLACK BOX CORPORATION, JOEL T.                         1. VIOLATIONS OF SECTION 14(E)
   TRAMMELL, RICHARD L. CROUCH,                              OF THE EXCHANGE ACT OF 1934
14 CYNTHIA J. COMPARIN, RICHARD C.                        2. VIOLATIONS OF SECTION 20(A)
   ELIAS, THOMAS G. GREIG, AND JOHN                          OF THE EXCHANGE ACT
15 S. HELLER,
16                           Defendants.
17
18
19          James Adie (“Plaintiff”), by his undersigned attorneys, alleges upon personal knowledge

20 with respect to himself, and upon information and belief based upon, inter alia, the investigation
21 of counsel as to all other allegations herein, as follows:
22                                        NATURE OF THE ACTION

23          1.      This action is brought as a class action by Plaintiff on behalf of himself and the

24 other public holders of the common stock of Black Box Corporation (“Black Box” or the
25 “Company”) against Black Box and the members of the Company’s board of directors
26 (collectively, the “Board” or “Individual Defendants,” and, together with Black Box, the
27 “Defendants”) for their violations of Sections 14(e) and 20(a) of the Securities Exchange Act of
28
          Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 2 of 16 Page ID #:2



 1 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(e) and 78t(a), and Item 1015 of Regulation M-A,
 2 17 C.F.R. § 229.1015(b)(4) (“Item 1015”), and to enjoin the expiration of a tender offer (the
 3 “Tender Offer”) by AGC Networks Pte. Ltd. (“AGC”) through Host Merger Sub Inc., a Delaware
 4 corporation and a wholly owned subsidiary of BBX Inc. 1 (“Merger Sub”), to acquire all of the
 5 issued and outstanding shares of Black Box (the “Proposed Transaction”).
 6          2.      On November 11, 2018, Black Box, AGC, Parent, BBX Intermediate, and Merger

 7 Sub entered into an Agreement and Plan of Merger (the “Merger Agreement”), whereby each
 8 stockholder of Black Box common stock will receive $1.08 per share in cash (the “Offer Price”).
 9          3.      On November 21, 2018, in order to convince Black Box stockholders to tender their

10 shares, the Board authorized the filing of a materially incomplete and misleading Schedule 14D-9
11 Solicitation/Recommendation Statement (the “Recommendation Statement”) with the SEC. In
12 particular, the Recommendation Statement contains materially incomplete and misleading
13 information concerning: (i) financial projections for the Company; (ii) the valuation analyses
14 performed by the Company’s financial advisor, Raymond James & Associates, Inc. (“Raymond
15 James”), in support of their fairness opinion; and (iii) the potential conflict of interest Raymond
16 James faced as a result of its prior dealings with Black Box.
17          4.      The Tender Offer is scheduled to expire at midnight (i.e., one minute after 11:59

18 p.m.), New York time, on December 19, 2018 (the “Expiration Date”). It is imperative that the
19 material information that has been omitted from the Recommendation Statement is disclosed to
20 the Company’s stockholders prior to the Expiration Date so they can properly determine whether
21 to tender their shares.
22          5.      For these reasons, and as set forth in detail herein, Plaintiff seeks to enjoin

23 Defendants from closing the Tender Offer or taking any steps to consummate the Proposed
24 Transaction, unless and until the material information discussed below is disclosed to Black Box
25 stockholders or, in the event the Proposed Transaction is consummated, to recover damages
26 resulting from the Defendants’ violations of the Exchange Act.
27   BBX Inc. (“BBX Intermediate”) is a Delaware corporation and a wholly owned subsidiary of
     1

28 BBX Main Inc., a Delaware corporation and a wholly owned subsidiary of AGC (“Parent”).
                                                2
                                     CLASS ACTION COMPLAINT
          Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 3 of 16 Page ID #:3



 1                                   JURISDICTION AND VENUE

 2          6.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

 3 Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges
 4 violations of Section 14(e) and 20(a) of the Exchange Act.
 5          7.      Personal jurisdiction exists over each Defendant either because the Defendant

 6 conducts business in or maintains operations in this District, or is an individual who is either
 7 present in this District for jurisdictional purposes or has sufficient minimum contacts with this
 8 District as to render the exercise of jurisdiction over each Defendant by this Court permissible
 9 under the traditional notions of fair play and substantial justice. “Where a federal statute such as
10 Section 27 of the [Exchange] Act confers nationwide service of process, the question becomes
11 whether the party has sufficient contacts with the United States, not any particular state.” Sec.
12 Inv’r Prot. Corp. v. Vigman, 764 F.2d 1309, 1315 (9th Cir. 1985). “[S]o long as a defendant has
13 minimum contacts with the United States, Section 27 of the Act confers personal jurisdiction over
14 the defendant in any federal district court.” Id. at 1316.
15          8.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

16 78aa, as well as under 28 U.S.C. § 1391, because under Section 27 of the Exchange Act, 15 U.S.C.
17 § 78aa, as well as under 28 U.S.C. § 1391, because Defendants are found or are inhabitants or
18 transact business in this District. Indeed, Black Box maintains a branch office in Fontana
19 California which is in this District, where the VP of the Company’s West Region and the Area
20 Manager both conduct business for the Company.
21                                               PARTIES

22          9.      Plaintiff is, and at all relevant times has been, a stockholder of Black Box.

23          10.     Defendant Black Box is a Delaware corporation with its principal executive offices

24 located at 1000 Park Drive, Lawrence, Pennsylvania 15055 with a branch regional office at 7950
25 Cherry Ave, Fontana, CA 92335. The Company is a leading technology solutions provider
26 dedicated to helping customers build, manage, optimize, and secure their IT infrastructure. Black
27 Box common stock is traded on the NASDAQ under the ticker symbol “BBOX.”
28          11.     Defendant Joel T. Trammell is, and has been at all relevant times, a director of
                                                   3
                                     CLASS ACTION COMPLAINT
          Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 4 of 16 Page ID #:4



 1 Black Box, and currently serves as the Company’s President and Chief Executive Officer.
 2          12.     Defendant Richard L. Crouch is, and has been at all relevant times, a director of

 3 Black Box.
 4          13.     Defendant Cynthia J. Comparin is, and has been at all relevant times, a director of

 5 Black Box.
 6          14.     Defendant Richard C. Elias is, and has been at all relevant times, a director of Black

 7 Box.
 8          15.     Defendant Thomas G. Greig is, and has been at all relevant times, a director of

 9 Black Box.
10          16.     Defendant John S. Heller is, and has been at all relevant times, a director of Black

11 Box.
12          17.     The defendants identified in paragraphs 11 through 16 are collectively referred to

13 herein as the “Individual Defendants” and/or the “Board,” collectively with Black Box the
14 “Defendants.”
15                                 CLASS ACTION ALLEGATIONS

16          18.     Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23 on behalf of himself

17 and the other public stockholders of Black Box (the “Class”). Excluded from the Class are
18 Defendants herein and any person, firm, trust, corporation, or other entity related to or affiliated
19 with any Defendant.
20          19.     This action is properly maintainable as a class action because:

21                  a.     The Class is so numerous that joinder of all members is impracticable. As

22          of the close of business on November 20, 2018, there were 15,237,521 shares of Black Box

23          common stock outstanding, held by hundreds to thousands of individuals and entities

24          scattered throughout the country. The actual number of public stockholders of Black Box

25          will be ascertained through discovery;

26                  b.     There are questions of law and fact that are common to the Class that

27          predominate over any questions affecting only individual members, including the

28          following:
                                                      4
                                     CLASS ACTION COMPLAINT
         Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 5 of 16 Page ID #:5



 1                         i)        whether Defendants have misrepresented or omitted material

 2                                   information   concerning   the   Proposed    Transaction    in   the

 3                                   Recommendation Statement, in violation of Section 14(e) of the

 4                                   Exchange Act;

 5                         ii)       whether the Individual Defendants have violated Section 20(a) of

 6                                   the Exchange Act; and

 7                         iii)      whether Plaintiff and other members of the Class will suffer

 8                                   irreparable harm if compelled to tender their shares based on the

 9                                   materially incomplete and misleading Recommendation Statement;

10                 c.      Plaintiff is an adequate representative of the Class, has retained competent

11         counsel experienced in litigation of this nature, and will fairly and adequately protect the

12         interests of the Class;

13                 d.      Plaintiff’s claims are typical of the claims of the other members of the Class

14         and Plaintiff does not have any interests adverse to the Class;

15                 e.      The prosecution of separate actions by individual members of the Class

16         would create a risk of inconsistent or varying adjudications with respect to individual

17         members of the Class, which would establish incompatible standards of conduct for the

18         party opposing the Class;

19                 f.      Defendants have acted on grounds generally applicable to the Class with

20         respect to the matters complained of herein, thereby making appropriate the relief sought

21         herein with respect to the Class as a whole; and

22                 g.      A class action is superior to other available methods for fairly and

23         efficiently adjudicating the controversy.

24                                   SUBSTANTIVE ALLEGATIONS

25 I.      Company Background and the Proposed Transaction

26         20.     Black Box is a leading digital solutions provider dedicated to helping customers

27 design, build, manage and secure their IT infrastructure. The Company delivers high-value
28 products and services through its global presence and approximately 3,000 team members.
                                                       5
                                       CLASS ACTION COMPLAINT
         Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 6 of 16 Page ID #:6



 1          21.      AGC is the client’s trusted global technology integrator to architect, deploy,

 2 manage and secure their IT environment through customized solutions and services that accelerate
 3 their business. AGC partners with the world’s best brands in Unified Communications, Data
 4 Center & Edge IT, Cyber Security (CYBER-i) and Digital Transformation & Applications.
 5          22.      On November 11, 2018, Black Box and AGC issued a joint press release

 6 announcing the Proposed Transaction. The press release stated, in relevant part:
 7                   AGC NETWORKS TO ACQUIRE BLACK BOX,
              CREATING A SIGNIFICANT GLOBAL TECHNOLOGY SOLUTIONS
 8                                  PROVIDER
 9            Expands Offerings, Scale and Geographic Reach to Service Global Enterprise
                                               Clients
10
                  Offer Price Represents a 24% Premium Over Most Recent Closing Price on
11                                        Friday, November 9, 2018
12          DALLAS, MUMBAI, SINGAPORE and PITTSBURGH, November 11, 2018
            – A wholly-owned subsidiary of global solutions integrator AGC Networks Ltd
13          (BSE/NSE: AGCNET), AGC Networks Pte. Ltd. in Singapore and Black Box
            Corporation (NASDAQ:BBOX) announced today that they have entered into a
14          definitive merger agreement under which AGC Singapore would acquire all the
            outstanding shares of Black Box for $1.08 per share in cash, subject to customary
15          closing conditions and regulatory approvals. The Black Box Board of Directors
            unanimously approved the merger agreement following a thorough review of the
16          full range of available strategic, financial and capital structure alternatives, which
            Black Box commenced and announced on February 6, 2018. The transaction is
17          expected to close prior to the end of the calendar year.
18          The combination with Black Box will provide a substantial increase in AGC’s
            presence and offerings in North America. In addition, AGC will enhance its
19          footprint in providing technologies and services throughout six continents. The
            acquisition will be significant for AGC, expected to add over $600 million in annual
20          revenue and approximately 3,000 team members serving clients worldwide.
21          “We have known Black Box for many years and believe that its skilled teams and
            strong client relations with world-class enterprises and partners will allow us to
22          better serve our global clients,” said Sanjeev Verma, Executive Director and CEO
            of AGC Networks. “The merger of our two companies will create a unique
23          organization that has the scale to deliver world-wide technical solutions to the
            largest organizations.”
24
            “We were looking for a partner that could provide us with the resources to grow
25          our services and products businesses in a way that benefitted clients and
            employees,” said Joel Trammell, CEO of Black Box. “As we visited in depth with
26          the AGC team, it became obvious that the fit was very strong and that the
            combination would make our company more exceptional. I look forward to
27          working with Sanjeev and his team to build a world class global technology services
            company.”
28
                                                      6
                                     CLASS ACTION COMPLAINT
          Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 7 of 16 Page ID #:7


            Under the terms of the merger agreement, an indirect wholly owned U.S. subsidiary
 1          of AGC Singapore will commence a tender offer to purchase all of the outstanding
            shares of Black Box common stock for $1.08 per share in cash. Upon the successful
 2          completion of the tender offer, the U.S. subsidiary of AGC Singapore would
            acquire all remaining shares of common stock not tendered in the offer for $1.08
 3          per share through a second-step merger. The tender offer and the second-step
            merger are subject to customary conditions, including the tender of a majority of
 4          the outstanding shares of Black Box common stock. The U.S. subsidiary of AGC
            Singapore is financing the merger through a combination of equity and debt.
 5          Pathlight Capital will serve as administrative agent for the senior credit facilities.
 6          Strategic Rationale
 7          The transaction brings together two global IT solutions providers that share a
            “client focus” approach and are committed to accelerating their clients’ business.
 8          AGC brings its strong presence in India, the Middle East and Pacific Rim to
            complement Black Box’s services focus in the Americas and Europe, while also
 9          enhancing the presence in other global markets. Both companies provide full
            managed services capabilities in Unified Communications and Collaboration,
10          Cloud, Data Center and Edge Technologies. AGC adds its expertise in digital
            applications and cybersecurity to Black Box’s strong infrastructure and mobility
11          background. The transaction will enhance their technology vendor partners’ reach
            in global markets, verticals and clients. The Black Box products business will
12          continue to offer its full portfolio of products directly and through channel
            partners.2
13
14 II.      The Recommendation Statement Is Materially Incomplete and Misleading

15          23.    On November 21, 2018, the Defendants filed a materially incomplete and

16 misleading Recommendation Statement with the SEC and disseminated it to Black Box’s
17 stockholders. The Recommendation Statement misrepresents or omits material information that
18 is necessary for the Company’s stockholders to make an informed decision whether to tender their
19 shares in connection with the Tender Offer.
20          24.    First, the Recommendation Statement fails to disclose material information

21 concerning the potential conflict of interests Black Box’s financial advisor, Raymond James, faced
22 as a result of its prior dealings with the Company.
23          25.    Specifically, the Recommendation Statement states:

24          Raymond James has provided certain services to the Company in the previous two
25          years, including financial advisory services related to the divestiture of its Federal

26
     2   Black Box Corporation, Current Report (Form 8-K), at Exhibit 99.1 (Joint Press Release,
27 issued November 11, 2018, by Black Box Corporation and AGC Networks Limited.) (November
28 13, 2018).
                                                      7
                                     CLASS ACTION COMPLAINT
          Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 8 of 16 Page ID #:8



             Business as well as the Second Amendment to its Credit Agreement, dated June 29,
 1           2018, for which it has been paid fees by the Company.
 2 Recommendation Statement at 63-64 (emphasis added). Consequently, the Recommendation
 3 Statement fails to quantify how much compensation Raymond James received for the fairness
 4 opinion that it rendered in connection with the Proposed Transaction.
 5         26.      Disclosure of “any compensation received or to be received as a result of the
 6 relationship between” a financial advisor and the subject company or its affiliates is required
 7 pursuant to Item 1015. Accordingly, the failure to quantity compensation details from Raymond
 8 James’ previous dealings with Black Box renders the Recommendation Statement and Raymond
 9 James’ fairness opinion materially incomplete and misleading, and in violation of 17 C.F.R. §
10 229.1015(b)(4).
11           27.    Such information is also material to Black Box stockholders.           Indeed, it is
12 imperative for stockholders to be able to understand what factors might influence the financial
13 advisor’s analytical efforts. A financial advisor’s own proprietary financial interest in a proposed
14 merger must be carefully considered in assessing how much credence to give its analysis. The
15 relationships between investment banks and corporate management can run deep, and an
16 investment bank often has business with the corporation and its management that spans more than
17 one transaction. Where an investment bank is providing a fairness opinion that involves long-
18 standing clients, it may be influenced to find a transaction fair to avoid irritating management and
19 other corporate actors who stand to benefit from the transaction, as this will ensure future lucrative
20 business. There is no rule that conflicts of interest must be disclosed only where there is evidence
21 that the financial advisor's opinion was actually affected by the conflict.
22           28.    Put simply, a reasonable stockholder would want to know an important economic
23 motivation of the financial advisor employed by a board to opine on the fairness of the
24 consideration to offered to stockholders, when that motivation could rationally lead that advisor to
25 favor a deal at a less than optimal price, because the procession of a deal was more important to
26 him, given his overall economic interest, than ensuring stockholders actually receive a truly fair
27 price.
28
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                                      CLASS ACTION COMPLAINT
          Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 9 of 16 Page ID #:9



 1          29.     Second, the Recommendation Statement fails to disclose the original iteration of

 2 the Company’s financial projections.
 3          30.     Specifically, the Certain Company Unaudited Prospective Financial Information

 4 section of the Recommendation Statement states:
 5          The Company Projections are derived from the Company’s fiscal 2019 annual
 6          operating plan, prepared by the Company in April 2018 in the ordinary course
            of its annual strategic planning process. In August 2018, … the Company
 7          developed the Company Projections to take into account the Company’s recent
            performance, customer and vendor developments, and the prospective financial
 8          impact of the sale of the Federal Business, and the effect of those matters on the
            near-, medium- and long-term results of operations of the Company.
 9
10 See Recommendation Statement at 54-55 (emphasis added). In other words, Company
11 management prepared two sets of projections: the initial iteration in April 2018, and a later updated
12 set in August 2018.
13         31.    However, the Recommendation Statement selectively discloses only one set of
14 projections.
15          32.     Numerous courts have championed the importance of management based financial
16 projections because a company’s management has unique insight into their firm’s future and the
17 value of the company that the market does not. Stockholders cannot hope to replicate
18 management’s inside view of the Company’s prospects. The established case law shows the
19 importance (and, hence, materiality) of financial projections to stockholders’ decision-making.
20          33.      By electing to disclose some of Black Box’s projections, Defendants’ obligated
21 themselves to speak the whole truth regarding Black Box’s projections by providing complete and
22 accurate projections because if a proxy discloses financial projections and valuation information,
23 such projections must be complete and accurate, rather than cherry-picking favorable financial
24 metrics to disclose. The question here is not the duty to speak, but liability for not having spoken
25 enough. With regard to future events, uncertain figures, and other so-called soft information, a
26 company may choose silence or speech elaborated by the factual basis as then known—but it may
27 not choose half-truths.
28
                                                      9
                                     CLASS ACTION COMPLAINT
        Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 10 of 16 Page ID #:10



 1          34.     The Recommendation Statement describes Raymond James’ fairness opinion and

 2 the various valuation analyses performed in support of their opinion. However, the description of
 3 Raymond James’ fairness opinion and their analyses fails to include key inputs and assumptions
 4 underlying the analyses. Without this information, as described below, Black Box’s stockholders
 5 are unable to fully understand these analyses and, thus, are unable to determine what weight, if
 6 any, to place on Raymond James’ fairness opinion in determining whether to tender their shares
 7 in the Proposed Transaction. This omitted information, if disclosed, would significantly alter the
 8 total mix of information available to Black Box’s common stockholders.
 9          35.     With respect to Raymond James’ Discounted Cash Flow Analysis, the

10 Recommendation Statement fails to disclose the following key components used in their analysis:
11 (i) the inputs and assumptions underlying the calculation of the perpetual growth rates ranging
12 from 1.5% to 2.5%; (ii) the range of terminal values for Black Box in 2022; (iii) the inputs and
13 assumptions underlying the calculation of the discount rates ranging from 16.8% to 18.8%; (iv)
14 the resulting range of Black Box’s present values; (v) the Company’s then-current capitalization;
15 (vi) the number of fully-diluted shares outstanding; and (vii) the range of present values per share
16 of Black Box common stock. See Recommendation Statement at 62.
17          36.     These key inputs are material to Black Box’s common stockholders, and their

18 omission renders the summary of Raymond James’ Discounted Cash Flow Analysis incomplete
19 and misleading. As a highly-respected professor explained in one of the most thorough law review
20 articles regarding the fundamental flaws with the valuation analyses bankers perform in support
21 of fairness opinions, in a discounted cash flow (“DCF”) analysis a banker takes management’s
22 forecasts, and then makes several key choices “each of which can significantly affect the final
23 valuation.” Steven M. Davidoff, Fairness Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006). Such
24 choices include “the appropriate discount rate, and the terminal value…” Id. As Professor
25 Davidoff explains:
26          There is substantial leeway to determine each of these, and any change can
27          markedly affect the discounted cash flow value. For example, a change in the
            discount rate by one percent on a stream of cash flows in the billions of dollars can
28          change the discounted cash flow value by tens if not hundreds of millions of
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                                     CLASS ACTION COMPLAINT
        Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 11 of 16 Page ID #:11



            dollars…. This issue arises not only with a discounted cash flow analysis, but with
 1          each of the other valuation techniques. This dazzling variability makes it difficult
 2          to rely, compare, or analyze the valuations underlying a fairness opinion unless
            full disclosure is made of the various inputs in the valuation process, the weight
 3          assigned for each, and the rationale underlying these choices. The substantial
            discretion and lack of guidelines and standards also makes the process vulnerable
 4          to manipulation to arrive at the “right” answer for fairness. This raises a further
            dilemma in light of the conflicted nature of the investment banks who often provide
 5          these opinions.
 6
 7 Id. at 1577-78 (emphasis added). Without the above-mentioned information, Black Box
 8 stockholders cannot evaluate for themselves the reliability of Raymond James’ DCF analysis,
 9 make a meaningful determination of whether the Offer Price reflects the true value of the Company
10 or was the result of Raymond James’ unreasonable judgment, and make an informed decision
11 regarding whether to tender their shares in the Proposed Transaction.
            37.    With respect      to Raymond      James’    Selected    Companies    Analysis,   the
12
13 Recommendation Statement fails to disclose the individual multiples Raymond James calculated
14 for each of the companies utilized. See Recommendation Statement at 59-60. The omission of
15 these multiples renders the summary of this analysis and the calculated enterprise value and
16 adjusted EBITDA multiples materially misleading. A fair summary of the Selected Companies
17 Analysis requires the disclosure of the individual multiples for each company; merely providing
18 the range that a banker applied is insufficient, as Black Box stockholders are unable to assess
19 whether the banker applied appropriate multiples, or, instead, applied unreasonably low multiples
20 in order to make the Company’s multiples and the Offer Price appear more
            38.    Similarly, with respect Raymond James’ Selected Transactions Analysis, the
21
22 Recommendation Statement fails to disclose the individual multiples Raymond James calculated
23 for each of the transactions utilized. See Recommendation Statement at 61. For the same reasons
24 mentioned above, the failure to disclose renders the summary of this analysis and the calculated
25 enterprise value and adjusted EBITDA multiples materially
            39.    In sum, the omission of the above-referenced information renders the
26
27 Recommendation Statement materially incomplete and misleading, in contravention of the
28 Exchange Act. Absent disclosure of the foregoing material information prior to the Expiration
                                                    11
                                     CLASS ACTION COMPLAINT
         Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 12 of 16 Page ID #:12



 1 Date, Plaintiff and the other members of the Class will be unable to make an informed decision
 2 regarding whether to tender their shares in the Proposed Transaction, and they are thus threatened
 3 with irreparable harm, warranting the injunctive relief sought herein.
 4                                                 COUNT I

 5        Claims Against All Defendants for Violations of Section 14(e) of the Exchange Act

 6           40.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

 7           41.     Defendants caused the Recommendation Statement to be issued with the intention

 8 of soliciting stockholder support of the Proposed Transaction.
 9           42.     Section 14(e) of the Exchange Act provides that it is unlawful “for any person to

10 make any untrue statement of a material fact or omit to state any material fact necessary in order
11 to make the statements made, in the light of the circumstances under which they are made, not
12 misleading . . . in connection with any tender offer or request or invitation for tenders, or any
13 solicitation of security holders in opposition to or in favor of any such offer, request, or invitation.”
14 15 U.S.C. § 78n(e).
15           43.     Defendants violated this clause of Section 14(e) because they negligently caused or

16 allowed the Recommendation Statement to be disseminated to Black Box stockholders in order to
17 solicit them to tender their shares in the Tender Offer, and the Recommendation Statement
18 contained untrue statements of material fact and/or omitted to state material facts necessary in
19 order to make the statements made, in the light of the circumstances under which they were made,
20 not misleading.
21           44.     Defendants negligently omitted the material information identified above from the

22 Recommendation Statement or negligently failed to notice that such material information had been
23 omitted from the Recommendation Statement, which caused certain statements therein to be
24 materially incomplete and therefore misleading. Indeed, while Defendants undoubtedly had access
25 to and/or reviewed the omitted material information in connection with approving the Proposed
26 Transaction, they allowed it to be omitted from the Recommendation Statement, rendering certain
27 portions of the Recommendation Statement materially incomplete and therefore misleading. As
28 directors and officers of Black Box, the Individual Defendants had a duty to carefully review the
                                                       12
                                       CLASS ACTION COMPLAINT
           Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 13 of 16 Page ID #:13



 1 Recommendation Statement before it was disseminated to the Company’s stockholders to ensure
 2 that it did not contain untrue statements of material fact and did not omit material facts. The
 3 Individual Defendants were negligent in carrying out their duty.
 4            45.   Black Box is imputed with the negligence of the Individual Defendants, who are

 5 each directors and/or senior officers of Black Box.
 6            46.   As a direct result of Defendants’ negligent preparation, review, and dissemination

 7 of the false and/or misleading Recommendation Statement, Plaintiff and the Class are impeded
 8 from exercising their right to seek appraisal on a fully informed basis and are induced to tender
 9 their shares and accept the inadequate Offer Price in connection with the Proposed Transaction.
10 The false and/or misleading Recommendation Statement used to solicit the tendering of shares
11 impedes Plaintiff and the Class from making a fully informed decision regarding the Tender Offer
12 and is an essential link in consummating the Proposed Transaction, which will deprive them of
13 full and fair value for their Black Box shares. At all times relevant to the dissemination of the
14 materially false and/or misleading Recommendation Statement, Defendants were aware of and/or
15 had access to the true facts concerning the process involved in selling Black Box, the projections
16 for Black Box, and Black Box’s true value, which is greater than the Offer Price Black Box
17 stockholders will receive. Thus, as a direct and proximate result of the dissemination of the false
18 and/or misleading Recommendation Statement Defendants used to obtain stockholder approval of
19 and thereby consummate the Proposed Transaction, Plaintiff and the Class will suffer damage and
20 actual economic losses (i.e., the difference between the price Black Box stockholders receive and
21 the true value of their shares) in an amount to be determined at trial.
22            47.   The misrepresentations and omissions in the Recommendation Statement are

23 material in that a reasonable stockholder would consider them important in deciding whether to
24 tender their shares in the Tender Offer. In addition, a reasonable investor would view a full and
25 accurate disclosure as having significantly altered the “total mix” of information made available
26 in the Recommendation Statement and in other information reasonably available to stockholders.
27 / / /
28 / / /
                                                     13
                                     CLASS ACTION COMPLAINT
         Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 14 of 16 Page ID #:14



 1                                               COUNT II

 2      Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act

 3           48.    Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

 4           49.    The Individual Defendants acted as controlling persons of Black Box within the

 5 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as
 6 officers and/or directors of Black Box and participation in and/or awareness of the Company’s
 7 operations and/or intimate knowledge of the false and misleading statements contained in the
 8 Recommendation Statement, they had the power to influence and control and did influence and
 9 control, directly or indirectly, the decision making of the Company, including the content and
10 dissemination of the various statements that Plaintiff contends are false and misleading.
11           50.    Each of the Individual Defendants was provided with or had unlimited access to

12 copies of the Recommendation Statement alleged by Plaintiff to be misleading prior to and/or
13 shortly after these statements were issued and had the ability to prevent the issuance of the
14 statements or cause them to be corrected.
15           51.    In particular, each of the Individual Defendants had direct and supervisory

16 involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had
17 the power to control and influence the particular transactions giving rise to the violations as alleged
18 herein, and exercised the same. The Recommendation Statement contains the unanimous
19 recommendation of the Individual Defendants to approve the Transaction. They were thus directly
20 involved in the making of the Recommendation Statement.
21           52.    By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

22 Exchange Act.
23           53.    As set forth above, the Individual Defendants had the ability to exercise control

24 over and did control a person or persons who have each violated Section 14(e) of the Exchange
25 Act, by their acts and omissions as alleged herein. By virtue of their positions as controlling
26 persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct
27 and proximate result of the Individual Defendants’ conduct, Plaintiff and the Class will suffer
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                                      CLASS ACTION COMPLAINT
           Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 15 of 16 Page ID #:15



 1 damage and actual economic losses (i.e., the difference between the price stockholders stand to
 2 receive and the true value of their shares) in an amount to be determined at trial.
 3                                          RELIEF REQUESTED

 4            WHEREFORE, Plaintiff demands relief in his favor and in favor of the Class and against

 5 the Defendants jointly and severally, as follows:
 6         A. Declaring that this action is properly maintainable as a Class Action and certifying Plaintiff

 7 as Class Representative and his counsel as Class Counsel;
 8         B. Preliminarily and/or permanently enjoining Defendants and their counsel, agents,

 9 employees and all persons acting under, in concert with, or for them, from proceeding with,
10 consummating, or closing the Proposed Transaction, unless and until Defendants disclose the
11 material information identified above which has been omitted from the Recommendation
12 Statement;
13         C. Rescinding, to the extent already implemented, the Merger Agreement or any of the terms

14 thereof, or granting Plaintiff and the Class rescissory damages;
15         D. Directing the Defendants to account to Plaintiff and the Class for all damages suffered as

16 a result of their wrongdoing;
17         E. Awarding Plaintiff the costs and disbursements of this action, including reasonable

18 attorneys’ and expert fees and expenses; and
19         F. Granting such other and further equitable relief as this Court may deem just and proper.

20                                              JURY DEMAND

21            Plaintiff demands a trial by jury.

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                                        CLASS ACTION COMPLAINT
       Case 5:18-cv-02537 Document 1 Filed 11/30/18 Page 16 of 16 Page ID #:16



                                                 Respectfully submitted,
 1   DATED: October 30, 2018
                                                 /s/ David E. Bower
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